Case 21-30085-hdh11 Doc 624 Filed 04/19/21                        Entered 04/19/21 13:54:56             Page 1 of 7



    NELIGAN LLP                                               GARMAN TURNER GORDON LLP
    PATRICK J. NELIGAN, JR.                                   GREGORY E. GARMAN
    State Bar No. 14866000                                    Nevada Bar No. 6654, admitted pro hac vice
    DOUGLAS J. BUNCHER                                        Email: ggarman@gtg.legal
    State Bar No. 03342700                                    WILLIAM M. NOALL
    JOHN D. GAITHER                                           Nevada Bar No. 3549, admitted pro hac vice
    State Bar No. 24055516                                    Email: wnoall@gtg.legal
    325 North St. Paul, Suite 3600                            DYLAN CICILIANO
    Dallas, Texas 75201                                       Nevada Bar No. 12348, admitted pro hac vice
    Telephone: 214-840-5333                                   E-mail: dciciliano@gtg.legal
    Facsimile: 214-840-5301                                   7251 Amigo Street, Suite 210
    pneligan@neliganlaw.com                                   Las Vegas, Nevada 89119
    dbuncher@neliganlaw.com                                   Telephone: 725-777-3000
    jgaither@neliganlaw.com                                   Facsimile: 725-777-3112
    Counsel for Debtors and                                   Counsel for Debtors
    Debtors-in-Possession                                     and Debtors-in-Possession




                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

IN RE:                                                       §            CHAPTER 11
                                                             §
NATIONAL RIFLE ASSOCIATION OF                                §            CASE NO. 21-30085-hdh11
AMERICA and SEA GIRT LLC,                                    §
                                                             §
           DEBTORS1                                          §            Jointly Administered
                                                             §

       DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY THE ATTORNEY
      GENERAL OF THE STATE OF NEW YORK’S DEPOSITION DESIGNATIONS AND
                      COUNTER-DESIGNATIONS THERETO

           The National Rifle Association of America (“NRA”) and Sea Girt LLC (“Sea Girt” and

together with NRA, the “Debtors”), debtors and debtors-in-possession, by and through their

counsel, submit the following Amended Objections and Counter-Designations to the Attorney

General of the State of New York’s (“NYAG”) Designations of Depositions & Prior Testimony.




1
    The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt).

DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY ATTORNEY GENERAL OF THE STATE
OF NEW YORK’S DEPOSITION DESIGNATIONS AND
COUNTER-DESIGNATIONS THERETO                                     Page 1 of 7
Case 21-30085-hdh11 Doc 624 Filed 04/19/21                     Entered 04/19/21 13:54:56              Page 2 of 7




                                         GENERAL OBJECTIONS

            The Debtors reserve their right to raise objections to testimony as it is read into the record or

played live at the hearing in this matter, and incorporates those objections made at the time of

testimony as noted in the deposition transcripts.

            Furthermore, the designations included testimony that may be cited as confidential and

therefore, upon the Court’s ruling on objections and testimony being submitted for the record, certain

information may need to be sealed as appropriate.

            Finally, the designating party has not indicated an intent to introduce any exhibits through

these designations and Debtors reserves their rights to object if, and when, the designating party

moves for the admission of any exhibits into evidence.

            Debtors reserve the right to amend or supplement these objections and counter-designations.

                                         SPECIFIC OBJECTIONS

Deposition of Wilson Phillips, Jr, taken on March 19, 2021.

    Wilson Phillips      NYAG Designations2                     Debtors’ Designations/Counter-
                                                                Designations
       1.                 15: 11-14                             15:11-12

       2.                 16:21-17:9, 18:2-10                   18:11-12; 20-24

       3.                                                       22:9-13

       4.                 46:1-47:1

       5.                 52:17-55:5

       6.                 55:19-58:6

       7.                 63:6-64:10                            64:11-16

       8.                 81:10-88:18


2
 The Court heard and ruled on the Debtors’ Objections to the NYAG’s Designations during the hearing on April 16,
2021. As a result, the Debtors have not restated them here but incorporate them by reference. Nothing herein shall be
deemed a waiver thereof.


DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY ATTORNEY GENERAL OF THE STATE
OF NEW YORK’S DEPOSITION DESIGNATIONS AND
COUNTER-DESIGNATIONS THERETO                                     Page 2 of 7
Case 21-30085-hdh11 Doc 624 Filed 04/19/21   Entered 04/19/21 13:54:56   Page 3 of 7




 Wilson Phillips   NYAG Designations2        Debtors’ Designations/Counter-
                                             Designations
    9.             89:10-90:3

    10.            121:21-122:21

    11.            124:12-125:17

    12.            126:9-127.3

    13.            134:4-140:9

    14.            141:14-147:13

    15.            148:23-149:6

    16.            152:12-153:11             153:22-154:2

    17.                                      166:14-168:4

    18.                                      169:10-24

    19.                                      170:16-171:4

    20.                                      171:25 - 172:6

    21.            179:3-181:19

    22.            182:5-17

    23.            186:9-187:9

    24.                                      193:17-19

    25.                                      194:1-6; 11

    26.            221:7-222:19

    27.                                      223:1-5

    28.            228:6-17


    29.            237:10-15



DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY ATTORNEY GENERAL OF THE STATE
OF NEW YORK’S DEPOSITION DESIGNATIONS AND
COUNTER-DESIGNATIONS THERETO                                     Page 3 of 7
Case 21-30085-hdh11 Doc 624 Filed 04/19/21                 Entered 04/19/21 13:54:56           Page 4 of 7




    Wilson Phillips   NYAG Designations2                   Debtors’ Designations/Counter-
                                                           Designations
       30.                                                 248:9-250:25

       31.                                                 281:15-23

       32.                                                 284:23 - 285:17

       33.                                                 285:24 - 286:16



Deposition of Gayle Stanford, taken March 25, 2021.
    Gayle         NYAG                Debtors’             NYAG's Responses             Debtor’s
    Stanford      Designations        Objections                                        Designations3

       1.                                                                               13:2-8

       2.                                                                               13:25-14:8

       3.                                                                               14:21-24

       4.                                                                               16:10-12

       5.                                                                               16:21-17:8

       6.                                                                               18:3-23

       7.                                                                               19:5-20

       8.                                                                               20:18-22:6

       9.                                                                               22:1-6

       10.                                                                              23:7-14

       11.                                                                              23:22 – 24:4

       12.                                                                              24:14-23



3
  The Debtors’ designations were also previously provided as ECF No.476, but have been revised to address the
revisions made by the NYAG.


DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY ATTORNEY GENERAL OF THE STATE
OF NEW YORK’S DEPOSITION DESIGNATIONS AND
COUNTER-DESIGNATIONS THERETO                                     Page 4 of 7
Case 21-30085-hdh11 Doc 624 Filed 04/19/21   Entered 04/19/21 13:54:56   Page 5 of 7




 Gayle        NYAG           Debtors’        NYAG's Responses     Debtor’s
 Stanford     Designations   Objections                           Designations3

    13.        31:11-32:05

    14.        33:20-34:02

    15.                                                           36:1-18

    16.                                                           39:9-13

    17.        41:10-41:19

    18.        41:20-41:25

    19.        42:02-42:12

    20.        42:13-42:14

    21.        42:15-42:22

    22.        42:25-43:4

    23.        45:23-46:01

    24.        46:02-46:02

    25.        46:06-46:15   Objection.
                             Foundation
    26.        47:20-48:01

    27.        48:02-48:15


    28.                                                           54:10-16

    29.                                                           75:21-76:8

    30.                                                           76:9-78:9

    31.                                                           84:13–85:5

    32.                                                           86:8-13




DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY ATTORNEY GENERAL OF THE STATE
OF NEW YORK’S DEPOSITION DESIGNATIONS AND
COUNTER-DESIGNATIONS THERETO                                     Page 5 of 7
Case 21-30085-hdh11 Doc 624 Filed 04/19/21   Entered 04/19/21 13:54:56      Page 6 of 7




 Gayle        NYAG           Debtors’        NYAG's Responses          Debtor’s
 Stanford     Designations   Objections                                Designations3

    33.        122:01-122:16 Speculation     Responses to Debtors’
                             (122:13-18)     objections:
                                             Speculation objection
                                             to 122:01-122:16 is
                                             meritless. The question
                                             asks Ms. Stanford
                                             whether, in the normal
                                             course, her invoices
                                             sent to Ackerman
                                             McQueen would be
                                             paid By Ackerman
                                             McQueen.
    34.        122:17-122:18 Outside         Speculation (122:13-
                             scope of        18)
                             direct
    35.        123:08-124:05 Outside scope
                             of direct
    36.                                                                124:13-21




DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY ATTORNEY GENERAL OF THE STATE
OF NEW YORK’S DEPOSITION DESIGNATIONS AND
COUNTER-DESIGNATIONS THERETO                                     Page 6 of 7
Case 21-30085-hdh11 Doc 624 Filed 04/19/21   Entered 04/19/21 13:54:56         Page 7 of 7




 Dated: April 19, 2021

                                       Respectfully submitted,


                                       /s/ Gregory E. Garman
                                       Patrick J. Neligan, Jr., SBN 14866000
                                       Douglas J. Buncher, SBN 03342700
                                       John D. Gaither, SBN 24055516
                                       NELIGAN, LLP
                                       325 North St. Paul, Suite 3600
                                       Dallas, Texas 75201
                                       Telephone: 214-840-5333
                                       Facsimile: 214-840-5301
                                       pneligan@dneliganlaw.com
                                       dbuncher@neliganlaw.com
                                       jgaither@neliganlaw.com
                                       Gregory E. Garman
                                       Nevada Bar No. 6654, admitted pro hac vice
                                       William M. Noall
                                       Nevada Bar No. 3549, admitted pro hac vice
                                       Dylan Ciciliano
                                       Nevada Nar No. 12348, admitted pro hac vice
                                       GARMAN TURNER GORDON LLP
                                       7251 Amigo Street, Suite 210
                                       Las Vegas, Nevada 89119
                                       T: 725-777-3000 / F: 725-777-3112
                                       ggarman@gtg.legal
                                       wnoall@gtg.legal
                                       dciciliano@gtg.legal
                                       Counsel for Debtors




DEBTORS’ RESPONSE TO AMENDED DESIGNATIONS BY ATTORNEY GENERAL OF THE STATE
OF NEW YORK’S DEPOSITION DESIGNATIONS AND
COUNTER-DESIGNATIONS THERETO                                     Page 7 of 7
